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lN THE CIRCUIT COURT OF HARRISON COUNTY, WEST VIRGl'NiA
KRIS S. KISER
Plainciff,
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JUDGE= L….>?’mm

INDIANHEAD PIPELINE SERVICES, LLC
and PRECISION PIPELINE LLC

Defendants.

 

COMPLAINT

 

COMES NOW the Plaintiff, KRIS S. KISER by and through his undersigned counsel,
KENNETH P. HICKS, L.C., Who, for his Cornplaint, alleges and states as follows:

PARTIES
I.

The Plaintift`, KRIS S. KISER is and Was at the time of the incident herein complained of

herein, a resident and citizen of Huntington, Ca‘cell County, West Virginia.
- II.

Defendant, Indianhead Pipeline Services, LLC, (hereinafter referred to as
lNDIANI-IE ”) is and was at the time of the incident herein complained of, a corporation
authorized and doing business in Salern, Harrison County, West Virginia. Defendant,
INDIANHEAD’s principle place of business is located at 13167 County Hwy OO,
Chippewa Falls, WI 54729. At the time of the incident complained of herein, Plaintifi`, Kris S.
Kiser, was engaged in the business of his employer, INDIANHEAD, and Was in the performance

of his Work duties INDIANHEAD Was a subcontractor of general contractor Defendant,

DEFENDANT’S
g EXHIB|T

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Precision Pipeline LLC, at the time of Plaintiff’s injury.
III.

Defendant, Precision Pipeline, LLC (“PRECISION”), is and was at the time of the

*'"“_"““‘*_~incident`l'rerein”comp'lain‘ed“of;'a"corporation"and/or business entity authorized 'and'do'ing business

in, Harrison County, West Virginia, with a principle place of business located at 3314 5 6th

Street, Eau Ciaire, Wl.

JURISDICTION AND VENUE
IV.

The negligent and other described acts complained of occurred in Harrison County, West
Virginia.

COUNT ONE
NEGLIGENCE
V.

1. At all times pertinent hereto, Plaintiff, KRIS S, KISER, while in the course of and
in iilrtherance of his employment activities with Defendant INDIANHEAD, was called upon to
perform work upon the right-of-way road built, graded and maintained for contractors and
employees using the aforesaid right-of-way road by co-Defendant, PRECISION. Plaintiff, KRIS
S. KISER’s, job duties included operating a piece of machinery known as a Morooka.

2. On or about Septernber 19, 2015, Plaintiff, KRIS S. KISER, While performing the
above-referenced work duties, was subjected to such hazardous, unsafe and dangerous
conditions as to cause him to be seriously injured When the overweight Morooka Slipped off

the edge of the temporary and rolled over multiple times to the bottom of the mountain some 110

feet.

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3. On or about September 19, 2015, Plaintiff, KRIS S. KISER, while performing the
above-referenced work duties, was asked to run the overweight and dangerous Morooka in an

improperly graded area and without enough room for two Morookas to operate, pass or travel the

""'aforesaid right-of-'way as"instructed by 'INDIANHEAD:"'Said'access road and working conditions " ~

l were created, maintained and in the direct control of co-Defendants, INDIANHEAD and
PRECISION. As a result of being placed in the dangerous working condition, the Plaintiff, KRIS
S. KISER was caused to be seriously injured about his body and mind, as a proximate result of
the aforementioned activities PRECISION caused the Morooka to be modified whereby it was
made more dangerous to operate and prone to rollovers because of the water tank weight and
location on the Morooka. PRECISION failed to properly provide for a safe work area for the
Morooka to be operated

4. Plaintiff, KRIS S. KISER, believes and asserts that the haul road/right-of-way
upon which he was injured while operating the aforesaid Morooka Was controlled by, and under
the direct supervision and/or control of co-Defendant, PRECISION and that traveling conditions
upon the right~of-way road which ultimately caused the injuries suffered by him on Septernber
19, 2015.

5. Plaintiff, KRIS S. KISER, further asserts that co-Defendant, PRECISION,
negligently and carelessly maintained, inspected and/or provided the defective premises where
the Plaintiff was working, which ultimately led to the serious and debilitating injuries suffered by
the Plaintift`, KRIS S. KISER. It was foreseeable that the right-of way conditions and overloading
the Morooka on uneven terrain would cause the Morookas to rollver as was done in the instant

case involving the Plaintiff.

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6. Co-Defendant, PRECISION, owed to Plaintiff, KRIS S. KISER, a business
invitee, the duty to exercise reasonable care in providing a safe work area and environment to
perform their work activities in the operation of their required equipment so as to not injure the
____"”"'”“Plai'ntiff,"o“r"oth'er“bu'sin`e'ss'inv"itees._'Tlre;'c"o'-Defendant`,“`PREClSION;through "“"""""" '""“'“‘ ""““""
and by its employees, agents, representatives and/or assigns, breached their statutory and legal
duties of care and Plaintiff, KRIS S. KISER, was seriously injured by the negligent acts and/or
omissions to act by the co-Defendants, PRECISION and INDIANHEAD.
7. As a proximate result of the foregoing, Plaintiff, KRIS S. KISER, suffered the
following injuries and damages:
a. serious personal injuries cfa permanent and indefinite duration;
b. pain and suffering, physical and mental, past, present and future;
c. loss of enjoyment of life, past, present and future;
d. loss of capacity to earn an income, and perform household and other related
duties, past, present and future; and

e. Past, present and future medical expenses cfa sum which can be made certain;
and are reasonably certain to occur.

Plaintiff, KRIS S. KISER, will continue to suffer from these injuries into the indefinite
future.
COUNT TW() - DELIBERATE INTENT
Plaintiff, realleges and reincorporates each and every allegation contained in
numbered paragraphs 1 through 7 above as if set out verbatim herein.

8. On or about September 19, 2015, Plaintiff, KRIS S. KISER, was in the course of

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his employment duties with INDIANHEAD, while performing the duties outlined above upon
the temporary road and right-of-way prepared by co~D_efendants PRECISION and

INDIANHEAD, through or by their agents, representatives and/or employees, and knowingly

--caused-P-laintiff}-K-RIS S:'KlSER,'to work-in'an"unsafe;improper and dangerous'conditi'on;""* " '

9. Defendant, INDIANI-IEAD, by and through its agents, employees, and/or servants,
acted with a conscious, intentional and deliberate intention to produce the specific result of injury
or death to an employee (i.e., Plaintiff, KRIS S. KISER).

lO. In the alternative, the Defendant violated W. Va. Code §23-4-2(d)(ii) as

follows:
i. Defendant, INDIANHEAD allowed a specific unsafe working condition to

exist in the workplace of Plaintiff, KRIS S. KISER as described above
which presented a high degree of risk and a strong probability of serious
injury or death;

iir Defendant, INDIANHEAD had actual knowledge prior to the injury of the
existence of the specific unsafe working condition and of the high degree
of risk and the strong probability of serious injury or death presented by
the specific unsafe working condition;

iii. That said specific unsafe working condition was a violation of a state or
federal safety statute, rule or regulation, whether cited or not, of a
commonly accepted and well-known safety standard within the
industry or business of the Defendant, INDIANI-IEAD which statutes,

rules, regulations, or standards were specifically applicable to the

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particular work and working condition involved at the time of Plaintiff's
injury herein complained of;

iv. 'l`hat notwithstanding the existence of the facts set forth in subparagraphs
(i) through (iii) , inclusive of this paragraph, INDIANHEAD nevertheless
~ ~»intentionally-thereafter exposed KRIS S.~-KlSER-tothe-specific unsafe -:-- -
working conditions; and
v. That KRIS S. KISBR was exposed and suffered serious compensable
injuries.

ll. As a proximate result of the above, Plaintiff, KRIS S. KISER, suffered the
following injuries and damages:

a. serious personal injuries of a permanent and indefinite duration;

b. pain and suffering, physical and mental, past, present and future;

c. loss of enjoyment of life, past, present and future;

d. loss of capacity to earn an income, and perform household and other related
duties, past, present and future;

e. Past, present and future medical expenses of a sum which can be made certain;

f. Past, present and future medical expenses which are reasonably certain to
occur; and,

12. Plaintiff, KRIS S. KISER, will continue to suffer from these injuries into the
indefinite future.

WHEREFORE, Plaintiff, KRIS S. KISER, demands judgment against these
Defendants, jointly and severally in an amount which will fully compensate him for his aforesaid
injuries, along with pre-judgment and post-judgment interest, court costs, such further sums as
the Court may deem reasonable for attorney fees for services in this action; and for such other

relief as this Court deems proper.

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PLAINTIFF I-IEREBY DEMANDS A TRlAL BY JURY ON ALL ISSUES.

KRIS S. KISER

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_K=enneth.l,‘__ Hicks.,._ESquire '(WV Bar.,_#$%:z)__ _ _ _ `. , _ ..
KENNETH P. HICKS, L.C.

742 Fourth Avenue

Huntington, WV 25701

Telephone: (304) 525-320l

Facsimile: (304) 525-4700

Counse!far Plaintijj”

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AFFIDAVIT PURSUANT TO W.Va CODE 823-4-2

STATE OF WEST VIRGINIA,

COUNTY OF CABELL, to-wit

 

¢ l have a B.S. in Engineering Technology from Fairmont State University and an
M.S.E. in Industrial Engineering/ Occupational Safety & Health, West Virginia University

o l am a Certified Industrial Hygienist by the American Board of Industrial
Hygiene, certification number 5377.

o l am a Certified Safety Professional by the Board of Certified Safety
Professionals, certification number 13258.

v l am currently a professor at Marshall University Clollege of Information
Technology and Engineering where amongst other activities I develop and teach graduate and
undergraduate courses in the following areas: Accident Investigation, Construction Safety,
General industry safety, Industrial Hygiene & Laboratory, Ergonomics, Process Safety
Management, ASP/ CSP Workshop, Ventilation, Intro to Safety, Safety Training Techniques,
Research and Literature in Safety, Biological / Physical hazards in Industrial Hygiene, OSHA 10
& 30 Hour Construction Safety Courses and Mine Safety Training 'l`echnologiesl .

- l have previously been recognized by the Circuit Courts of the St_ate of West_
Virginia as an expert in workplace safety and industrial hygiene, and I have knowledge and
expertise in the fields of workplace safety statutes, rules, regulations, and consensus industry
safety standards

o l have reviewed some photographs and limited records pertaining to the injury

sustained by Mr. Kristin Kiser at the Indianhead Pipeline/Precision Pipeline located in Salem,

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Harrison County, West Virginia on Septernber 19, 2015 when he was operating a piece of
equipment referred to as a l\/larooka that slide and then rolled over, free and ultimately crushing
him beneath it. l have also_taken part in a face-to-face telephone meeting with Mr. Kiser and met
~'with=plaintiff"'s counsel. ll\/lr.--'l<liser~’=sinjury--was-investigated-by»OSHA and-there are ~ --
_ irregularities in the information contained in the OSHA report versus the employer’s report of
injury or incident report It is also my understanding that l\/lr. Kiser was employed by lndianhead
Pipeline at the time of his injury.

- In connection to my review and based upon Mr. Kiser°s representations and
allegations , I identified the following specific unsafe working conditions:

- Failure to develop work procedures for water transportation and safe

passing of equipment in congested areas;

v Failure to utilize a spotter in a narrow or congested work space;
~ Failure to properly train Mr. Kiser to work while on and/or in a congested
work space;
‘ Inappropriate modification of the Marooka for the tasks performed
- The specific unsafe working conditions violated the following safety statutes,

rules, and/or consensus industry safety standards:
' 29 CFR 1926 (OSHA Construction safety standards);
’ ANSI standards (to be determined).
¢ The specific unsafe working conditions identified herein that were present at the
workplace (Indianhead Pipeline) on and prior to the September 19, 2015 incident_caused Mr.

Kiser to suffer the serious injuries at issue in the Complaint.

v The opinions expressed herein are stated to a reasonable degree of certainty

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within my fields of expertise

o The opinions expressed herein are based wholly on materials available to me at

the time I performed my review of this matter.

-- o"'-"- " -l resolve the right‘to review any-document- that may later be -generated-and/or '-
supplied to me, and to supplement or amend the opinions herein as may be appropriate in my

professional opinion

Further this affiant sayeth naught.

es D. Mclntosh, ClH, CSP

Takenj subscribed, and sworn to before me this /;l/ day of

2017. / /u';é>l
NOTAR'Y PUBLIC /
My commission expires: g l j §j :Y j _

 

